
980 So.2d 623 (2008)
E.E., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 4D07-3235.
District Court of Appeal of Florida, Fourth District.
May 7, 2008.
*624 Carey Haughwout, Public Defender, and Elisabeth Porter, Assistant Public Defender, West Palm Beach, for appellant.
Bill McCollum, Attorney General, Tallahassee, and James J. Carney, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
E.E. appeals his conviction and sentence for possession of cannabis, twenty grams or less. We reverse the trial court's denial of appellant's motion for judgment of dismissal, because the state presented no evidence to show that appellant, who was driving his family's car with a passenger in the front seat, had knowledge of the presence of the small baggie of marijuana found under the driver's seat of the car and or that he had dominion and control over the drugs. See J.G. v. State, 881 So.2d 25, 26 (Fla. 4th DCA 2004); J.M. v. State, 839 So.2d 832, 834 (Fla. 4th DCA 2003); Earle v. State, 745 So.2d 1087 (Fla. 4th DCA 1999); In the Interest of E.H., 579 So.2d 364 (Fla. 4th DCA 1991); McClain v. State, 559 So.2d 425 (Fla. 4th DCA 1990); Hively v. State, 336 So.2d 127 (Fla. 4th DCA 1976).
We reverse the denial of appellant's motion for judgment of dismissal and remand with directions to vacate the disposition order withholding adjudication and placing appellant on probation.
Reversed.
STONE, STEVENSON and TAYLOR, JJ., concur.
